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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY



                                                                          CLOSED
 ERIKA VITALE,                                             Civil Action No.:   15-8463 (JLL)

           Plaintiff(s),

  V.
                                                                          ORDER
 NEUROLOGY SPECIALISTS OF MORRIS
 COUI’ffY, LLC

           Deftndant(s).

           It appearing that it has been reported to the Court that the above captioned matter has been

settled:

                           28th
           it is on this          day of JUNE, 2016;

           ORDERED, that this action be and hereby is dismissed without costs and without prejudice

to the right, upon good cause shown within 60 days, to reopen the action if the settlement is not

consummated; and, it is further,

           ORDERED, that the Clerk shall close the file in this matter.




                                                                  LINARES, U.S.D.J.
